                   Case 22-14559        Doc 43       Filed 08/23/24    Page 1 of 2



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                   BALTIMORE DIVISION

IN RE:                                           *

JESSICA D. JONES                                 *    Case No. 22-14559-NVA
          Debtor                                      Chapter 13
                                                 *

                                                 *
ALLY BANK
  Movant                                         *

vs.                                              *

JESSICA D. JONES                                 *

      Respondent(s)                              *

                                   NOTICE OF APPEARANCE

            Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters
an appearance in this case on behalf of Ally Bank,(Creditor). Please serve a copy of all notices,
correspondence and/or orders on Michael J. Klima, Jr., who is admitted to practice in this Court, at the
address below:

       Michael J. Klima, Jr.
       Klima, Peters & Daly, P.A.
       8028 Ritchie Highway, Ste. 300
       Pasadena, MD 21122
       JKlima@KP DLawgroup.com

Dated: August 23, 2024                               Respectfully submitted:
                                                     /s/ Michael J. Klima, Jr.
                                                     MICHAEL J. KLIMA, JR. #25562
                                                     8028 Ritchie Highway, Ste. 300
                                                     Pasadena, MD 21122
                                                     (410) 768-2280
                                                     JKlima@KP DLawgroup.com
                                                     Attorney for Ally Bank
                 Case 22-14559    Doc 43    Filed 08/23/24    Page 2 of 2



                            CERTIFICATION OF SERVICE

I HEREBY CERT IFY that on this 23rd day of August, 2024, a copy of the foregoing Notice of
Appearance was mailed, first class, postage prepaid, to

Jessica D. Jones
7507 Slate Drive
Windsor Mill, MD 21244

Eric S. Steiner
P O Box 17598, Pmb 83805
Baltimore, MD 21297

Brian A. Tucci
P.O. Box 1110
Millersville, MD 21108

                                            /s/ Michael J. Klima, Jr.
                                            MICHAEL J. KLIMA, JR. #25562
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